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IN THE UNITED STATES DISTRICT COURT 05 m `\" 'C'
FOR THE WESTERN DISTRICT OF TENNESSEE Y`S AH 8; 35
EASTERN DIVISION Cf@§§o¢ §§ _ re
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cLoUDIA HILL, by and through her "KSON
next friends and mother and father,
PATRICIA HILL and KERRY HILL,

and PATRICIA HILL and KERRY HILL,

VS. NO. 03~1219-T-An

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MCNAIRY coUNTY, et al., )

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Defendants.

 

ORDER DENYING PLAINTIFFS’ APPEAL

 

Plaintiffs have appealed the order of Magistrate Judge S. Thomas Anderson which
denied their motion to reconsider the order granting Defendants’ motion to prohibit the use
of certain Written Statements and testimony. w Order 3/25/05. Defendants have filed a
response to the appeal For the reasons stated below, Plaintiffs’ appeal is DENIED.

The events leading up to the filing of the present motion are as follows. Defendants
filed a motion for summary judgment on August 3, 2004. Plaintiffs filed their response
which included supporting affidavits from Tina Smith, Randall Nielson, Rhonda Brown, and
Michael Brown. Defendants then filed a motion to prohibit the use of testimony from those
individuals on the ground that Plaintiffs had not disclosed their names in their initial

disclosures or in response to Defendant’s interrogatories and refused to provide contact

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information after Plaintiff Patricia Hill identified them as persons having knowledge of the
relevant events during her deposition Magistrate Judge Anderson granted Defendants’
motion on February 2, 2005. Plaintiffs filed a motion to reconsider which was denied on
March 24, 2005. Plaintiffs have appealed that order.

A party aggrieved by the magistrate judge's order may seek review of it by appealing
to the district court within ten days after being served with a copy of the order. w Local
Rule 7 2. l(g). The district court's review of any pretrial matter made by the magistrate judge
is governed by Rule 72(g) of the Federal Rules of Civil Procedure, which provides: “The
presiding district judge may reconsider any order determining a pretrial matter where it has
been shown that the magistrate judge's order is clearly erroneous or contrary to law.” Fed.
R. Civ. P. 72(g)(l); see also § 28 U.S.C. 636(b)(l). “The clear error standard means that
the district court can overturn the magistrate judge's ruling only if the district court is left
With the definite and firm conviction that a mistake has been made.” Weeks v. Samsung
Heavy Indus. Co., 26 F._°>d 926, 943 (7"1 Cir. 1997).

In his order, Magistrate Judge Anderson rejected Plaintiffs’ arguments that (1) they
should not be bound by the actions of their former counsel, Suzanne Michelle, (2)
Defendants had the resources to locate the addresses of the now prohibited witnesses, and
(3) the court should grant Defendants additional time to depose these witnesses to ameliorate
any prejudice, rather than striking their testimony Magistrate Judge Anderson analyzed

Plaintiffs’ motion under Fed. R. Civ. P. 60(b) and found that none of Plaintiff’s arguments

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fell with that Rule’s ambit.l That is, Plaintiffs failed to show that their actions in not
disclosing the requisite information was the result of "mistake, inadvertence, surprise, or
excusable neglect."

In their appeal, Plaintiffs again argue that the scheduling order can be modified to
allow Defendants sufficient time to depose the witnesses and that Defendants could have
located these witnesses on their own. Plaintiffs also argue that Defendants should have filed
a motion to compel, rather than a motion to prohibit.

Plaintiffs have failed to show that the ruling of the Magistrate Judge was “clearly
erroneous or contrary to law.” Magistrate Judge Anderson’s finding that Plaintiffs were
bound by the actions of Ms. Michelle was in accordance with well-established law. In M
v. Wabash R. Co., 370 U.S. 626 (1962), the Supreme Court held that a client may be made
to suffer the consequence of dismissal of its lawsuit because of its attorney's failure to attend
a scheduled pretrial conference The Court found "no merit to the contention that dismissal
of petitioner's claim because of his counsel'S unexcused conduct imposes an unjust penalty
on the client." Li at 633.

Petitioner voluntarily chose this attorney as his representative in the action,

and he cannot now avoid the consequences of the acts or omissions of this

freely selected agent. Any other notion would be wholly inconsistent with our

system of representative litigation, in which each party is deemed bound by

the acts of his lawyer-agent and is considered to have ‘notice of all facts,

notice of which can be charged upon the attorney.’

l_d_. (quoting Smith v. Ayer, 101 U.S. 320, 326 (1880)). E ali FHC Eguities, L.L.C. v.

 

l Plaintiffs cited no legal authority for their motion to reconsider.

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MBL Life Assurance Coro., 188 F.3d 678 (6‘h Cir.l999) (N either strategic miscalculation
nor counsel's misinterpretation of the law warrants relief from a j udgment.); Valley Line Co.
v. Ryan, 771 F.2d 366 (8th Cir. 1985) (Client is bound by attorney's action because attorney
has "the implied power to take all action with reference to procedural matters.")
Additionally, Plaintiffs’ present attorney, Gary Blackburn, as well as Ms. Michelle, was
representing Plaintiffs at the time of the non-disclosure

Fed. R. Civ. P. 37 authorizes a court to impose sanctions against a party who fails to
make Rule 26(a) disclosures or to provide discovery allowed under the Federal Rules of
Civil Procedure. Rule 37 provides in relevant part:

(b) Failure to Comply With Order....

(2) Sanctions by Court in Which Action is Pending. If a party fails to obey

an order to provide or permit discovery, the court in which the action is

pending may make such orders in regard to the failure as are just, and among

others the following:

(A) An order that the matters regarding which the order was made or any other

designated facts shall be taken to be established for the purposes of the action

in accordance with the claim of the party obtaining the order;

(B) An order refusing to allow the disobedient party to support or oppose

designated claims or defenses, or prohibiting that party from introducing

designated matters in evidence;

(C) An order striking out pleadings or parts thereof, or staying further

proceedings until the order is obeyed, or dismissing the action or proceeding
or any part thereof, or rendering a judgment by default against the disobedient

party....

(c) Failure to Disclose; False or Misleading Disclosure; Refusal to Admit.

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(l) A party that without substantial justification fails to disclose information

required by Rule 26(a) or 26(e)(l), or to amend a prior response to discovery

as required by Rule 26(e)(2), is not, unless such failure is harmless, permitted

to use as evidence at a trial, at a hearing, or on a motion any witness or

information not so disclosed In addition to or in lieu of this sanction, the

court, on motion and after affording an opportunity to be heard, may impose

other appropriate sanctions In addition to requiring payment of reasonable

expenses, including attorney's fees, caused by the failure, these sanctions may

include any of the actions authorized under Rule 37(b)(2)(A), (B), and (C) and

may include informing the jury of the failure to make the disclosure
Compliance with Rule 37 includes complete and timely supplementation of disclosures and
responses in accordance with Rule 26(e).

In the present case, Plaintiffs’ failure to identify these witnesses in a timely manner
was neither an inadvertent omission nor an honest mistake Defendants have not "sought
to eliminate this testimony on a technicaligg," Plaintiffs’ Memo. at p. 5 (emphasis added),
but, instead, on Plaintiffs’ disregard of the Federal Rules of Civil Procedure. Plaintiffs’
failure to comply with the Federal Rules has hindered Defendants in preparing their defense
and has resulted in prolonged litigation Thus, Plaintiffs’ actions were not harmless

The court finds that Magistrate Judge Anderson’s original ruling granting
Defendants’ motion to prohibit certain testimony was not clearly erroneous or contrary to
law and neither was his ruling denying Plaintiffs’ motion to reconsider. However, in light
of the severity of the sanction of prohibiting the testimony of the witnesses, the court will
not award Defendants the costs associated with defending the motion to reconsider.

ln summary, Plaintiffs’ appeal of the order denying Plaintiffs’ motion to reconsider

the order of the Magistrate Judge granting Defendants’ motion to prohibit the use of certain

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written statements and testimony is DENIED.

IT IS SO ORDERED.

JA S D. TODD
UN ED STATES DISTRICT JUDGE

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DATE 0

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 167 in
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Honorable .l ames Todd
US DISTRICT COURT

